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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CARMILLA TATEL, individually and as            )
parent and natural guardian of her children;   )
STACY DUNN, individually and as parent         )   Civil Docket No.: 2:22-cv-837
and natural guardian of her children; and      )
GRETCHEN MELTON, individually and as           )
parent and natural guardian of her children.   )
                                               )
   Plaintiffs                                  )
                                               )   PLAINTIFFS’ BRIEF IN
                v.                             )   SUPPORT OF MOTION FOR
                                               )   PRELIMINARY INJUNCTION
MT. LEBANON SCHOOL DISTRICT; THE               )
MT. LEBANON SCHOOL BOARD;                      )
MEGAN WILLIAMS; DR. TIMOTHY                    )
STEINHAUER; DR. MARYBETH D.                    )
IRVIN; BRETT BIELEWICZ; JACOB W.               )
WYLAND; VALERIE M. FLEISHER;                   )
TODD W. ELLWEIN; ANDREW D.                     )
FREEMAN; ERIN C. GENTZEL; CLAIRE               )
B. GUTH; DR. JUSTIN D. HACKETT;                )
ANAMARIA A. JOHNSON; and SARAH L.              )
OLBRICH.                                       )
                                               )
   Defendants                                  )
                                               )
                                               )
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       While schools and teachers serve an in loco parentis function while a child is at school,

“[p]ublic schools must not forget that ‘in loco parentis’ does not mean ‘displace parents.’”

Gruenke v. Seip, 225 F.3d 290, 307 (3d Cir. 2000). In contravention of their proper role as public

educators and leaders of the District, as well as the District’s published curriculum and

instructional materials, the Defendants have violated, are violating, and will continue to violate

Plaintiffs’ Constitutional rights by “displacing” them as parents. Contrary to Plaintiffs’ desires, the

District has taught, and has indicated it will teach in the future, the subjects of gender dysphoria

and transgender transitioning to students in the District, including in elementary school to first

graders. Defendants have adopted a policy of not only permitting teaching of this subject matter

but of doing so without it being in the published curriculum or list of published instructional

materials, without any notice to parents, without any ability of parents to review instructional

materials, and without any rights of parents to opt out of the instruction, even though notice and

opt out rights are provided for a variety of other subjects including instruction related to the

Holocaust, slavery, the 9/11 terrorist attacks, reproductive education, sex education, Black Lives

Matter, and Planned Parenthood.

       In addition to proving that the Defendants have violated Plaintiffs’ Constitutional rights, at

a hearing, Plaintiffs will prove via expert testimony that teaching these subjects to young children

can have harmful, unintended ramifications.

                            I.      The Constitutional Rights at Issue

       Plaintiffs have a Constitutionally protected liberty interest in the care, custody, and control

of their children, including their education. This is one of the oldest fundamental liberty interests

recognized under the Constitution. Nearly a century ago, the U.S. Supreme Court held that the

“liberty” protected by the Due Process Clause includes the right of parents “to control the



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education of their [children].” Meyer v. Nebraska, 262 U.S. 390, 399 (1923) (emphasis added).

The Supreme Court has subsequently held (and repeatedly reaffirmed) that the “liberty of parents

and guardians” includes the right “to direct the upbringing and education of children under

their control.” Pierce v. Society of Sisters, 268 U.S. 510, 534–535 (1925) (emphasis added);

Troxel v. Granville, 530 U.S. 57, 65-67 (2000). Defendants’ conduct clearly violates these rights.

        The Due Process Clause of the 14th Amendment to the United States Constitution also

protects the sanctity of the family as an institution and this is deeply rooted in this Nation's history

and tradition through which moral and cultural values are passed down. Moore v. East Cleveland,

431 U.S. 494, 503-04 (1977). The Constitution protects this private realm of the family from

interference by the state. Prince v. Massachusetts, 321 U.S. 158, 166 (1944). Defendants’ conduct,

likewise, violates this right. The Due Process Clause of the 14th Amendment to the United States

Constitution also protects the right of individuals to have independence in making individual

decisions regarding fundamental rights, including education. See Gruenke v. Seip, 225 F.3d 290,

302 (3d Cir. 2000). Here, in substance and in violation of this right, the Defendants have displaced

the Plaintiffs’ children’s rights as decision makers.

        The Free Exercise Clause of the First Amendment to the United States Constitution, as

applied to the states by the Fourteenth Amendment, prohibits Defendants from abridging

Plaintiffs’ right to free exercise of religion. U.S. Const., Amend. I. In this regard, Plaintiffs have

sincerely held religious and moral beliefs including that human beings are created male or female

and that the natural created order regarding human sexuality cannot be changed regardless of

individual feelings, beliefs, or discomfort with one’s identity, and biological reality, as either male

or female. Plaintiffs also have sincerely held religious and moral beliefs that parents have the non-

delegable duty to direct the upbringing and beliefs and religious training of their children. The



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Districts permission of instruction on gender dysphoria and transgender transitioning, particularly

doing so in elementary school and doing so without notice and opt out rights, violates Plaintiffs’

First Amendment rights.

       Likewise, the Equal Protection Clause of the 14th Amendment provides protection for

citizens against unequal application or enforcement of laws. U.S. Const., Amend. XIV. By

providing notice and opt our rights for other subjects but not for instruction related to gender

dysphoria and transgender transitioning, Defendants’ have violated the Equal Protection Clause.

       A Preliminary Injunction is needed to prevent the Defendants’ from continuing to violate

Plaintiffs’ Constitutional rights now and in the future, including in the upcoming school year

starting in August/September 2022.

            II.     Factual Background Supporting Preliminary Injunctive Relief

A.     The Pennsylvania School Code and Mt. Lebanon’s Policies (on Paper)

       In recognition of and clearly derived from some or all of the above Constitutional rights,

the Pennsylvania School Code requires, inter alia, parental access to information about a school’s

curriculum including instructional materials, a process for parents to review instructional

materials, and “opt out” rights from specific instruction based on beliefs covered by the First

Amendment. 22 Pa.Code §4.4(d) (emphasis added). School Districts, by law, are required to adopt

policies recognizing these parental rights. Id.

       The District’s Policy I(J) concerns selection of “Instructional Materials,” which includes

digital media, video and audio materials. Per 22 Pa.Code §4.4(d), the District is required to have a

process for parents to review “instructional materials,” which, under the Policy I(J), includes

digital media, video and audio materials. A copy of Policy I(J) is attached as Ex. 2 to the Motion.

Under District Policy I(J), “Subject to final approval by the Board where required by law, the

responsibility of selecting instructional materials and resources rests with the Superintendent
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and, the appropriate administrators, who may delegate the responsibility for recommending

selections to professional personnel employed by the District.” Policy I(J) further requires that

“Instructional materials and resources on controversial issues shall be selected to maintain a

balanced collection representing various views” and mandates that “Instructional materials and

resources shall be appropriate for the subject area and for the age, emotional development, ability

level, learning styles and social development of the students for whom the materials are selected.”

       Policy I(F), titled “Curriculum and Parental Rights,” expressly acknowledges that “parents

and guardians of students have the right to access and review information concerning the

instruction, assessment and academic progress of their children.” (emphasis added). Policy I(F)

further provides that the parental rights from the Pennsylvania School Code should be adhered to

by, inter alia, providing “access to information about the curriculum, including academic

standards to be achieved, instructional materials, and assessment techniques[,]” “a process for

the review of instructional materials[,]” and opt out rights related to instruction that conflicts

with First Amendment beliefs. (emphasis added). The Policy also guarantees that “Parents and

guardians of students enrolled in the District have the right to access and review instructional

materials for courses in which their children are enrolled and all assessment materials that have

been administered to their children.” (emphasis added). Policy I(F) is Ex. 3 to the Motion.

       The Administration is responsible for developing “the procedures necessary to implement

[Policy I(F)], including [by] making available to parents and guardians information regarding the

academic standards to be achieved, instructional materials, and assessment techniques,

including instructional materials for courses in which their children are enrolled and all

assessment materials that have been administered to their children and developing a process for

parents/guardians to access and/or review such instructional materials and assessments



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administered to their children” and “notifying parents and guardians of their right to have their

child(ren) excused from specific instruction which conflicts with their [First Amendment] beliefs.”

       Additionally, in recognition of the parental rights underlying these policies, the District

publishes and makes available on its website the “Mt. Lebanon School District Elementary

Curriculum Grade 1 Curriculum” (hereinafter Grade 1 Curriculum) and Curriculum for other

grades. Not surprisingly, on its face, the published Grade 1 Curriculum does not mention or discuss

teaching gender dysphoria and transgender transitioning to first graders. Nor does the curriculum

for any other elementary grade (or any grade, period). A copy of the Curriculum for each of grades

1 though 5 is attached as Ex. 4 to the Motion.

       The Grade 1 Curriculum contains a “Counseling” section and indicates:

               All first-grade students participate in the school counseling program
               through regular classroom guidance lessons. This curriculum consists of
               structured lessons, delivered by the school counselor in the classroom,
               designed to help students attain the academic, career and social/emotional
               competencies and to provide all students with the knowledge, attitudes and
               skills appropriate for their developmental level. The first-grade classroom
               lessons are designed to further develop school success skills such as
               accepting mistakes and setting goals, friendship and social problem solving
               skills, feeling identification, communication and self-management skills,
               diversity, inclusion and career awareness.

(emphasis added). This reference to diversity and inclusion is the only reference to this subject in

the Grade 1 Curriculum. The references for other elementary grades are substantively the same.

       The District further publishes a detailed breakout of each subject that is generally described

in the Curriculum for each grade. This detailed breakout is only accessible by parents via a parent

portal that is password protected. In these detailed breakouts, the teaching of Diversity and

Inclusion is mentioned in only one subject, “School Counseling Classroom Lessons (D)”. The

detailed Counseling curriculum does not mention or discuss teaching gender dysphoria and

transgender transitioning to first graders or other grades. The lessons covered by the Counseling


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curriculum breakout indicate that these lessons will be taught by professional school counselors.

This is similar for other grades. A copy of the detailed breakout of Curriculum for each of grades

1 through 5 is found at Ex. 5 to the Motion. Teaching DEI issues or initiatives in first grade (or

any other elementary grade) is not mentioned in any other curriculum detail for any subject.

       In late 2020, the District formed a DEI Taskforce, as well as a DEI Committee of the Board.

Based on meeting agendas published by the District, teaching gender dysphoria and

transgender transitioning, let alone to elementary students including first graders, has never

been on a meeting agenda for the Taskforce. Copies of the DEI Committee agendas are attached

as Ex. 6 to the Motion. A Community Forum was held by the Taskforce in May 2021. Teaching

gender dysphoria and transgender transitioning, let alone to elementary students including

first graders, was not discussed at the Community Forum. A video of the Community Forum

can    be     found    at    https://www.mtlsd.org/about-us/district-news/details/~board/district-

news/post/dei-taskforce-community-forum-video-now-online.

       The DEI Committee of the Board has met monthly since October of 2020. Prior to

Defendant Williams teaching gender dysphoria and transgender transitioning to her first-grade

class in late March 2022, the DEI Committee had not discussed, let alone approved, teaching

gender dysphoria and transgender transitioning to first graders. There was no discussion of

books or videos to be used with elementary students including first graders by the DEI Committee.

In fact, there appears to have been no discussion about DEI instruction in first grade at all by the

DEI Committee. See Ex. 7 (Jensen Decl.) to the Motion.1



1
       The DEI Committee presented its draft plan at a Board meeting on June 14, 2022. Neither
the plan or discussion at the meeting addressed in-class instruction on gender dysphoria and
transgender transitioning at all, let alone in elementary school, let alone to first graders. The
discussion by Dr. Irvin in presenting the draft plan indicated that a DEI curriculum was “pending”
and that the District needed to retain outside consultants to help develop a DEI curriculum. There
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       Given these District publications and resources, the District in substance told parents that,

to the extent DEI initiatives would be taught in elementary school, it would be done by professional

counsellors, not teachers. No notice or information was provided to parents indicating that gender

dysphoria and transgender transitioning would be taught at all. Unfortunately, what the District

told parents was false.

B.     Williams’ Instruction on Gender Dysphoria and Transgender Transitioning and the
       District’s Creation of Policies, De Facto or Otherwise, Condoning and Supporting
       Instruction on These Topics

       In October 2021, Defendant Principal Bielewicz assured two concerned Jefferson

Elementary School (JES) parents that “there is no formal introduction or lessons surrounding

[gender identity] at JES, especially in the 1st grade.” Compl. ¶88. In contravention of this, without

the District providing notice of instruction or opt-out rights, Defendant Williams on multiple

occasions taught Plaintiffs’ children, who were in her first-grade class, about gender dysphoria and

transgender transitioning and, in a variety of other ways violated parents’ and her students’

Constitutional rights. Compl. ¶¶ 49-108.2 The allegations in these paragraphs will be proven

through testimony and exhibits at a hearing. This includes:

       Williams told the child of one of the Plaintiffs that he “can wear a dress and have hair like

[his] mom.” Plaintiff raised this with Williams at a parent-teacher conference, expressing her



was no specific discussion about a curriculum involving gender dysphoria and transgender
transitioning.
2
    Defendant Williams is the mother of a transgender child who, like her students, is in the first
grade. While that may give her unique perspectives and views on gender dysphoria and transgender
transitioning, it does not give her the right to impose those views on a captive audience of six and
seven-year-old children. Compl. ¶54. E.g., Mayer v. Monroe Cnty. Cmt. Sch. Corp., 474 F.3d 477
(7th Cir. 2007) (upholding decision not to renew teacher’s contract because of her expression of
political views in classroom).



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displeasure with what Williams had said to her son. Despite knowing this Plaintiff’s objections,

throughout the school year, Williams had private conversations with this young boy, suggesting

that the boy might want to wear a dress, and telling the child that he could be like her own

transgender child, who is also in the first grade. Williams explained to this young boy that “doctors

can get it wrong sometimes.” In the course of these private discussions, Williams also told this

young boy that if the subjects they were discussing came up at home, to say that “I heard it from a

little birdie.” Compl. ¶¶ 78-79.

       On March 31, 2022 (Transgender Day of Visibility) Williams sought approval, and

received it, from Defendant Bielewicz to play two videos and/or read two books while video

illustrations played to her first-grade class: (1) When Aiden Became a Brother

(https://www.youtube.com/watch?v=8F2_UR4y0iw)               and      (2)     Introducing       Teddy

(https://www.youtube.com/watch?v=ddRmNpLYgCM). The clear and obvious subject matter of

each of these books is the discussion of gender dysphoria and transgender transitioning. Compl.

¶¶ 80-108. In conjunction with the videos/books, Williams discussed gender dysphoria and

transgender transitioning with her class. This instruction was in direct conflict with what Bielewicz

told one set of parents previously: “there is no formal introduction or lessons surrounding [gender

identity] at JES, especially in the 1st grade.”

       Neither of these books is listed on any curriculum, list of instructional materials, or book

list for first grade instruction in the District or part of any instructional materials made available

to parents by the District. In clear violation of Pennsylvania law and District policy, parents had

no notice that these books/videos would be played, nor were they provided an opt out right. Id.

Williams provided direct classroom instruction regarding gender dysphoria and transgender

transitioning to her six and seven-year-old captive audience of children, explaining that sometimes



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“parents are wrong” and parents and doctors “make mistakes” when they bring a child home from

the hospital. Id.

        After Williams’ direct instruction on gender dysphoria and transgender transitioning some

of her six and seven-year-old students were rightfully confused. One child expressed to her mother

that she was confused by the videos and wondered if the child’s favorite stuffed animal (a pink

teddy bear) that she had always treated as a boy should now be treated as a girl. Another child

asked her mom, “how do you know that I am a girl.” One child who was confused by the

books/videos politely approached Williams privately in class and, showing the child’s confusion,

asked her if she (Williams) had ever changed her own child’s diaper because that would, to this

child’s understanding, solve the issue of whether the child was a boy or a girl. These reactions

confirm the inappropriateness of teaching these topics in a public school; in particular, the

inappropriateness of teaching them in elementary school, including to first graders. Id. These

reactions will be the subject of expert testimony at a hearing.

        One Plaintiff met with Williams about the instruction and voiced her objections informing

Williams that she would like to be the one responsible for having these conversations with her

child, not Williams, and that she felt this was outside the scope of Williams’ job and role. In

response, Williams informed her that they would “need to agree to disagree,” that “100% I have

an agenda,” that she teaches “right on the edge” and that she had no intent of stopping her

instruction. Williams indicated that Bielewicz and the Board had approved the videos. Id. ¶94.

        Weeks after the instruction, one Plaintiff, who had removed her son from Williams’ class,

received a private call from Williams. During the course of the phone call, Williams said to

Plaintiff, “as long as I am on this earth, I am going to teach children what I feel they need to know”

and hung up. Compl. ¶106. Such a statement can only reasonably be construed as a promise to



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continue teaching about gender dysphoria and transgender transitioning among her pupils. As this

phone call exemplifies, in Williams’ classroom, there is absolutely zero recognition of

Constitutionally protected parental rights if the expression of those rights is at odds with her own

agenda (“I am going to teach children what I feel they need to know”).

        After Williams’ instruction on these topics, certain of Plaintiffs communicated with

Bielewicz and/or Superintendent Steinhauer. Both Bielewicz and Steinhauer indicated that they

approved of the instruction and would not prevent similar instruction in the future. Id. ¶¶ 95-101,

104-05. Defendant Irvin, the Assistant Superintendent in charge of elementary education has made

public statements approving of the instruction and claiming its appropriateness. Id. ¶102.

Williams’ instruction has been discussed at, at least, three School Board meetings. The Board,

including Defendant Wyland, has expressed opinions favorable to the instruction. Id. ¶¶ 8 and

103. Excerpts from certain of these Board meetings will be played at a hearing. Neither

Superintendent Steinhauer or the Board has issued any new Policy, announcement or guidance

indicating that Policy I(F) and other District policies will be followed in the future as to this

instruction, thereby creating, at a minimum, an express and/or de facto policy of permitting

instruction on gender dysphoria and transgender transitioning in the District, including permitting

such instruction in elementary school, without it being in the curriculum and without instructional

materials going through the required process and procedures, and of not providing parental notice

and opt out rights related to the teaching of these topics in the District.

C.      A Preliminary Injunction is Necessary to Protect Against Further Violation of
        Plaintiffs’ Constitutional Rights

        As the above, as well as the other allegations in the Complaint, demonstrates Defendants

have violated, are violating, and will continue to violate, inter alia, Plaintiffs’ Constitutional rights

listed in Section II above. Defendants’ unconstitutional behavior involves affirmative, coercive,


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compelled conduct by the Defendants including but not limited to Williams’ in-class instruction

related to gender dysphoria and transgender transitioning in elementary school to a captive

audience of grade school students and the other Defendants’ express and/or de facto policy in favor

of this teaching, as well as doing so without these subjects or the instructional materials being in

the published curriculum and without any parental notice and opt out rights. The students were

required to participate in this instruction as part of their first grade class activities conducted by

their public school teacher. There does not exist a compelling state interest in teaching gender

dysphoria and transgender transitioning in the District, including in elementary school, including

doing so without providing appropriate notice and opt out rights that outweighs Plaintiffs’

Constitutional rights. Likewise, Defendants’ actions are not the least restrictive means to

accomplish any permissible government purpose Defendants seek to serve and are an arbitrary and

irrational use of power. The above is self-evident from, inter alia, the published curriculum

provided to Plaintiffs and the availability of notice and opt out rights related to certain historical

and scientific subjects of less magnitude.

       Defendants’ actions have resulted in, are resulting in, and will continue to result in

deprivation of Plaintiffs’ fundamental Constitutional rights. Such is a violation under the color of

state authority of federally protected Civil Rights in violation of 42 U.S.C. § 1983. Plaintiffs have

not received any assurance from the District that their rights will be respected in the future. To the

contrary, through its express and/or de facto policy in favor of this instruction, the District and its

representatives have approved of the instruction and indicated an intent to permit it in the future.

The District has presented to Plaintiffs an unconstitutional ultimatum: either waive their

Constitutional rights or remove their children from the District. See Mayer, 474 F.3d 479 (7th Cir.




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2007); accord, Johnson v. Poway Unified Sch. Dist., 658 F.3d 954, 968 (9th Cir. 2011).3

        Before the beginning of the next school year, Plaintiffs must know whether this Court will

uphold their Constitutional rights or whether the District is permitted to teach gender dysphoria

and transgender transitioning in a public school, including to elementary students as young as the

first grade without the adoption and publication of appropriate curriculum and instructional

materials and, if they are, whether notice and opt out rights must be provided. Time is of the

essence, and harm will be suffered if immediate relief is not granted. Plaintiffs have no adequate

remedy at law to correct the continuing and threatened deprivation of their fundamental rights.

                                           III.    Argument

A.      The Standard to Grant Preliminary Injunction.

        In order to obtain preliminary injunctive relief, Plaintiff must establish “(i) that he is likely

to succeed on the merits, (ii) that he is likely to suffer irreparable harm in the absence of

preliminary relief, (iii) that the balance of equities tips in his favor, and (iv) that an injunction is in

the public interest.” Issa v. School District of Lancaster, 847 F.3d 121, 131 (3d Cir. 2017). “[O]ne

of the goals of the preliminary injunction analysis is to maintain the status quo, defined as the last,

peaceable, uncontested status of the parties.” Opticians Ass’n of America v. Independent Opticians

of America, 920 F.2d 187, 197 (3d Cir. 1990) (citation and quotation omitted) (holding modified

by Reilly v. City of Harrisburg, No. 16-3722, 2017 WL 2272114 (3d Cir. May 25, 2017)). Further,

“it is not incumbent on the movant to prevail on all four factors, only on the overall need for an

injunction.” Karakozova v. Univ. of Pittsburgh, 2009 WL 1652469 at *2 (W.D. Pa. June 11, 2009).

        1.      Plaintiffs are Likely to Succeed on the Merits.

        Regarding the first requirement, related to likelihood of success on the merits, Plaintiffs


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     Education is mandatory in the Commonwealth of Pennsylvania. 24 P.S. § 13-1327.

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are not required to show that “the right to a final decision after trial be ‘wholly without doubt’; the

movant need only show a ‘reasonable probability’ of success.” Issa, 847 F.3d at 131, citing Punnett

v. Carter, 621 F.2d 578, 583 (3d Cir. 1980). Plaintiffs have a reasonable probability of success on

the merits under the causes of action and facts set forth in the Complaint, outlined above, and to

be proved at a hearing if necessary.4

        2.      Plaintiffs are Likely to Suffer Irreparable Harm Without Relief

        On the second prong, irreparable harm is likely if preliminary injunctive relief is not

granted. A violation of a Constitutional right is per se irreparable harm. See 11A Charles Alan

Wright & Arthur P. Miller, Fed. Prac. & Proc., § 2948.1 (3d ed. Apr. 2012 update). That is

especially true of First Amendment liberties. See Elrod v. Burns, 427 U.S. 347, 373 (1976)

(plurality) (“The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”); Nebraska Press Ass'n v. Stuart, 423 U.S. 1327,

1329 (1975) (“[A]ny First Amendment infringement that occurs with each passing day is

irreparable.”). In Pierce, the Court also held that the deprivation of a fundamental parental right

regarding education was an irreparable injury. Pierce, 268 U.S. at 536. Additionally, Defendants

have demonstrated an intention to permit in-class instruction, including in elementary school, on

gender dysphoria and transgender transitioning. Defendants have done so in contravention of the

District’s published curriculum and instructional materials and without any commitment to provide

notice and opt out rights. Thus, it is likely that Plaintiffs’ Constitutional rights will be violated in

the future. This is classic irreparable harm. Id.5


4
    Having presented the Court with a hybrid constitutional rights claim that incorporates threats
to the rights of free exercise, substantive due process, and the equal protection of the laws,
Defendants will have to show that teaching about gender dysphoria and transgender transitioning
can survive strict scrutiny. E.g., Dep’t of Human Res. of Ore. v. Smith, 494 U.S. 872, 882 (1990).
5
    Plaintiffs also anticipate presenting expert testimony as to how Defendants’ actions can
negatively impact children in a manner not compensable with money.
                                                     13
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        3.      The Balance of Harms Favors Plaintiffs and the Requested Relief is in the
                Public Interest.

        Third and fourth, the balance of harms favors the entry of a preliminary injunction, as does

the public interest. “If a plaintiff proves ‘both’ a likelihood of success on the merits and irreparable

injury, it ‘almost always will be the case’ that the public interest favors preliminary relief.” Issa,

847 F.3d at 143, citing AT&T Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 (3d

Cir. 1994). Furthermore, the Third Circuit has acknowledged that unconstitutional state action is

always contrary to the public interest. K.A. ex rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d

99, 114 (3d Cir. 2013) (“enforcement of an unconstitutional law vindicates no public interest.”).

        The District is usurping Plaintiffs’ parental rights over their children. It has forced and will

continue to force them to engage in conversations about gender identity at a time and age that is

contrary to their parents’ wishes. Defendants, on the other hand, have not included instruction on

gender dysphoria and transgender transitioning in their own published curriculum and instruction

materials.6 Moreover, a preliminary injunction would in no way limit Defendants’ ability to

promote the overarching goals of kindness, respect, inclusivity, tolerance and dignity for all. Those

are lessons that have been taught and learned by students for years without any need to introduce

the topics of gender dysphoria and transgender transitioning.

        Abridging Plaintiffs’ constitutional rights is by definition contrary to the public interest, as




6
  Further, at a minimum, Defendants need only follow their own policies and Pennsylvania law as
far as appropriate processes and procedures for published curriculum and instructional materials
and by providing notice and opt out rights to Plaintiffs. Nor can it be maintained that such
procedures for published curriculum and instructional materials and notice and opt-out rights harm
Defendants in any way. Their only effect is to give the public a say in curriculum and instructional
materials and to inform parents of what their children are being taught in class, giving them an
opportunity to shield their children from topics to which they object or do not feel their children
are quite ready to discuss.

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is conduct in derogation of the parental rights provisions of Pennsylvania’s school code. Thus, the

entry of a preliminary injunction serves the public interest as a matter of law, and neither

Defendants nor the public will be prejudiced by an entry of an Order enjoining Defendants from

teaching the subjects of gender dysphoria and transgender transitioning in the District contrary to

the published curriculum and instructional materials, including in elementary school, including

doing so without providing parental notice and the ability to opt out.

                                        IV.    Conclusion

       The Mt. Lebanon School District has violated the Plaintiffs’ parental rights by presenting

material to their young children that is outside of its published curriculum and has done so without

providing notice or an opt out option that would allow Plaintiffs to exercise their right to oversee

the education of their children. For the reasons stated, this Court should grant Plaintiffs’ Motion

for Preliminary Injunction, enjoining Defendants from (i) conducting and permitting instruction

on gender dysphoria and transgender transitioning in the District, including in elementary school,

without expressly including it in the curriculum whereby it and any instructional materials would

go through appropriate review processes and procedures and/or, in the alternative, (ii) prohibiting

the District from teaching these subjects, including in elementary school, without parental notice

and opt out rights, and (iii) prohibiting the District from doing so without providing access to all

materials to be used in any such instruction reasonably in advance to parents through appropriate

technological means (i.e., parent portal) so as to make notice and opt out rights meaningful.




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Dated: June 16, 2022                         Respectfully submitted,

                                    By:       s/ David J. Berardinelli
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